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RANG]§R INSURANCE COMPANY and
RIVERSTONE CLAIMS MANAGEMENT, LLC
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

MONARCH PLUMBING Case NO. 2106-cV-01357-WBS-KJM
COMPANY, INC., _
` - REPLY MEMORANDUM OF
Plaintiff, POINTS AND AUTHORITIES IN
SUPPORT OF MOTION OF
V. DEFENDANTS TO DISN[ISS
ACTION F()R FAILURE TO

RANGER INSURANCE COMPANY, STATE A CLA]M
RiverStone CLAIMS
MANAGEMENT, LLC, and DOES 1 [FRCP 12(b)(6)]

through 300,
, DATE: Se tember 5, 2006
Defendants l TIME: 1: 0 p. m.
CTRM: 5

Assigned to the Honorable
Willlam B. Shubb

 

 

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1. INTRoDUcrloN

Defendants RANGER INSURANCE COMPANY (“RANGER”) and
RIVERSTONE CLAIMS MANAGEMENT, LLC (“RIVERSTONE”)
respectfully submit the following Memorandum of Points and Authorities in
Support of their Motion to Dismiss Plaintiff’s,Complaint for Failure to State a
Claim.

Although Plaintiff is suing RANGER and RIVERSTONE 1 for breach of
contract and various other claims for relief which are based upon the contractual
relationship between Plaintiff and RANGER, Plaintiff admits that its complaint
does not rely upon any specific terms or conditions of the subject insurance
policy. See Plaintiff’s Opposition Page 4 lines 26-28.

While insurance contracts have special features, they are still contracts to
Which ordinary rules of contractual interpretation apply. RANGER’s obligations
to Plaintiff must be based upon the terms and conditions of the insurance policy.

Courts interpret insurance policies as written and do not rewrite policies solely to

. make them more favorable to the insured.

The absence of any breach by RANGER of a contractual obligation
precludes Plaintiff from stating any claims for relief arising out of or based upon
the RANGER insurance policy. Plaintiff’s reliance upon the unique body of case

law regarding claims against workers’ compensation insurers is misplaced. All of

 

22 the workers’ compensation cases relied upon by Plaintiff involve “loss-sensitive”
b 2 3 policies under which the insurer could retrospectively charge a higher premium,
2 4 for the current term, if its loss experience for that year is higher than expected.
25 The RANGER policy is not a “loss~sensitive” policy and therefore the workers’
_2 6 compensation cases relied upon by Plaintiff are not controlling Plaintiff’s
2 7
. 2 8 l Plaintiff does not dispute that RIVERISTONE is not a party to the insurance contract.
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Opposition fails to cite a single case where a California court has imposed liability
upon a commercial general liability insurer for settlement of claims within its
policy limits.

Although Plaintiff’s Opposition makes a vague reference to conflict of
interest, Plaintiff fails to identify any coverage issue that RANGER has reserved-
rights on which could be controlled by defense counsel retained by RANGER.
Such a circumstance is required before Plaintiff would be entitled to independent
counsel under California Civil Code § 2860(c). .

Plaintiff also erroneously asserts that because RIVERSTONE is a separate
entity from RANGER, that RIVERSTONE can be liable for breach of the
RANGER insurance policy and the various claims for relief which purportedly
arise out of the'alleged breach of the RANGER policy. Again, Plaintiff has failed
to cite any cases which support its novel legal theory. It~ is well settled under
California law that insurance adjusting firms which administer claims for insurers
are not liable for breach of contract or bad faith and do not owe any duties of care
to the insured.

Since Plaintiff’s Complaint fails to state a claim against either
RIVERSTONE or RANGER, Defendants’ Motion to Dismiss should be granted.

II._ PLAINTIFFDOES NOT ALLEGE BREACH OF AN EXPRESS 1
TERM OF THE RANGER POLICY

In order for an action to be based upon an instrument in writing the writing
must express the obligation sued upon. See Murphy v. Har;ford Accident &
Indem. Co., (1960) 177 Cal. App. 2d 539, 543.

Plaintiff’s breach`of contract claim fails as the RANGER Policy does not
contain any of the express terms that Defendants allegedly breached. No term

within the Policy requires that RANGER control costs or keep Plaintiff informed.

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1 Finally, while RANGER has a “right,” and “duty” to defend claims, no provision
2 limits the manner in which RANGER-handles claims.` Indeed, as it is RANGER’s
3 right, it is entitled to exercise discretion in executing those rights. See, e.g.,
4 Western Polymer Inc. v. Reliance Ins. Co.,'(1995) 32 Cal. App. 4th 24, 26, New
5 Hampshire Ins. Co. v. Ridout Roofing Co., Inc., (1998) 68 Cal. App. 4th 495 .
6 As the primary benefit provided under any commercial general liability
7 insurance policy, RANGER is obligated to defend and indemnify Plaintiff for
8 claims made under the RANGER Policy. It is not alleged that RANGER
9 breached any of these duties.
1 0 Because none of the “duties” purportedly breached by RANGER are actual
1 1 terms or conditions of the RANGER Policy and since RANGER is not otherwise
12 alleged to have breached an express term of the Policy, Plaintiff’s breach of
1 3 contract cause of action fails to state a claim and, therefore, must be dismissed.
1 4 y `
1 5 III. WITHOUT AN UNDERLYING VIABLE BREACH OF CONTRACT
1 6 CLAIM THERE CAN BE NO BREACH OF THE IMPLIED
1 7 COVENANT OF GOOD FAITH AND FAIR DEALING
1 8
- 1 9 ln the absence of a contractual breach, there can be no breach of the _
2 0 implied covenant of good faith and fair dealing. See Icasiano v. Allstate lns. Co.,
21 103 F. Supp. 2d 1187, 1191 (N.D. Cal. 2000). Specifically, insurance bad faith
22 rests upon the unreasonable denial of a contractual benefit. See Gmenberg v.
23 Aema Ins. Co., (1973) 9 Cal. 3d 566, 573; California Shoppers, Inc. v. Royal
24 Globe Ins. C0. , (1985) 175 Cal. App. 3d 1, 54. Therefore, a b_ad faith claim
2 5 cannot be maintained “unless policy benefits are due. ” Waller v. Truck Ins. Fz`re
2 6 Exch., (1995) 11 Cal. 4th 1, 35. See also Love v. Fire Ins. Exch., (1990) 221
27 Cal. App. 3d 1136, 1151 (To recover under a_ bad faith theory, Plaintiff must
2 8 prove the threshold fact that “benefits due under the policy [were] withheld. ”).
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As discussed above, Plaintiff has failed to allege a breach of a single
express term of the Policy between itself and RANGER. In its Opposition,
Plaintiff concedes that its Complaint is not based upon a breach of any specific
policy terms. See Plaintiff’s Opposition Page 4 lines 26-28. Accordingly,

Plaintiff’s bad faith claim for relief must be dismissed.

IV. PLAINTIFF’S RELIANCE UPON THE UNIQUE BODY OF CASE
LAW PROVIDING FOR CLAIlVIS AGAINST WORKERS’

COMPENSATION INSURERS IS l\/[ISPLACED

As an initial matter, it should be observed that “in general, an insurance
company is given broad discretion in adjusting claims as long [as] the settlement
does.not exceed policy limits.” Securizy O]j‘icers Serv., Inc. v. State Comp. Ins.
Fund, (1993) 17 Cal. App. 4th 887, 897 (citz`ng National Sur. Corp. v. Fasz‘ Motor
Ser_v., (1_991) 213 Ill. App. 3d 500; Western Polymer Tech., Inc. v. Reliance Ins.
C_o., (1995) 32 Cal. App. 4th 14, 24-25, 26 n.7 (“an insurer normally cannot be
liable to the insured if the insurer does no more than settle a claim or suit within
the policy’s limit”); New Plumbing Contractors, Inc. v. Nationwz`de Mut. lns.
Co., (1992) 7 Cal. App. 4th 1088. `

This is particularly true where the underlying policy, as here, gives the
insurer the right to investigate and settle claims. [See Townsend Declaration,
Exhibit “A” Page 13.] By virtue of this provision and the discretion afforded to
it, the insurer is “entitled to control settlement negotiations without interference
from the insured', ” and generally has no liability under a policy to the insured for
settling within the policy limits. See Western Polymer, supra at 24-25,' New
Hampshire Ins. Co. v. Ridout Roofing Co., (1998) 68 Cal. App. 4th 495.

As is the case With any typical liability policy, the insurer fulfills its

primary contractual obligations when it defends and settles a claim. The mere

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1 allegation that an insured may somehow be consequentially harmed by the
2 handling and settlement of that claim is not, in itself, sufficient to impose liability.
3 For example, no liability exists where the insured’s business reputation has been
4 harmed by the manner in which the insurer defended a claim or where the
5 resolution may have financially impacted the insured. See Western Polymer,
6 supra, at 26-27; Ridout, supra, at 504-505. Further, the contention that the
7 x manner in which a claim was handled may have impacted future higher premiums
8 is also insufficient See New Plumbing, supra, at 1097. So long as it is the case
9 that Plaintiff received the benefits of the Policy - that is, coverage for claims - its
10 allegations that RANGER mishandled claims resulting in higher future premiums
11 “does not implicate a breach of any implied obligation of good faith and fair
12 dealing. ” Id.
13 The Ridout case provides an example of the broad_discretion that is granted
14 to an insurer in investigating and settling third-party claims. In Ridout, an insured
15 tendered to its insurer eleven (11) claims, all of which the insurer settled for
16 approximately $150,000. Afterwards, pursuant to the contract, the insurer sought
117 reimbursement from the insured of approximately $50,000 in deductibles. The
18 insured refused to pay arguing that the policy did not cover the underlying claims.
1 9 The insurer argued that it complied with the contract and that payment under the
` 20 contract Was owed. g _
21 The Ridout` court agreed with the insurer and held that the covenant of good
22 faith and fair dealing did not operate to limit an insurer’s ability to “eat up” an
23 insured’s deductibles in settling claims. See Ridout, supra, at 504-505. While it
24 may have been the case that the insurer settled claims for which the insured may
25 not have been ultimately liable, under the policy in that action, the insurer had
2 6 discretion to settle those claims and seek reimbursement of the deductibles, and
27 the court held that the implied covenant of food faith and fair dealing “cannot be
2 8 utilized to limit or restrict an express grant of discretion in a contract to one of the
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parties thereto. ” Id.

-Unlike the circumstances in Rz`dout where the insurer was using the
insured’s money to settle claims, Plaintiff complains that RANGER is using too
much of its own money to defend and settle claims. Clearly, if an insured has no
cause of action in a situation such as Ridout, Plaintiff cannot complain that its
insurer.’s defense and handling of claims has only caused it to pay future higher
premiums.

Plaintiff’s reliance upon Securizy U]j‘icers Serv., Inc. v. State Comp. Ins.
Fund. (1993) 17 Cal. App. 4th 887 and its progeny is misplaced In these cases,
courts held that the employer-insured could sue their workers’ compensation
insurer for alleged misconduct in the handling of claims and setting of reserves.
The facts in those cases, however, are critically different from those at issue here,
Specifically, the holding in Sec_urity OJj‘Zcers turned on the fact that the`workers’
compensation insurance policy at issue there was “loss-sensitive.”

A “loss-sensitive” policy is one under which an insured may be
retrospectively charged a higher premium, for the current term, if its loss
experience for that year is higher than expected. Conversely, if the loss
experience of a particular year is lower than expected, an insured may receive a
dividend (i.e. , a premium refund) for that year. -These policies are distinct from
policies where an insured’s loss experience might only impact future premiums
(similar to any other insurance policy, where past experience affects future cost of
coverage).

The significance of the “loss-sensitive”, policy is noted by the Securily
Ojj‘icers court1 l

[I]n general, an insurance company is given broad discretion in
adjusting claims as long [as] the settlement does not exceed policy 4
limits. [] However, the general rule is irrelevant here, where the

policy limits are not a set figure. When an insurance policy

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' 1 contains a retrospective premium feature, an insurer’s failure to
2 act reasonably when adjusting claims automatically subjects the 8
3 insured togreater financial obligation in the form of increased
4 premium rates.
5 Securizy U]j‘icers Serv., Inc., supra, at 897 (emphasis added),' See also
6 Tricor Calif., Inc. v. State Comp. `Ins.- Fund, (1994) 30 Cal. App. 4th 230 (also
7 dealing with retrospective premium policy where the insured may be paid
8 dividend or incur higher premiums for the current year).
9 Further compelling guidance is provided in the Western Polymer action, In
10 discussing and distinguishing the facts and holding in Securily G]j‘icers,. the
3 11 California Court of Appeal stated:
12 More recently, Securily Ojj‘icers Service, supra, 17 Cal. App. 4th
13 887, found that a w-orkers’ compensation insurer had a duty to use
14 good faith in investigating, defending, setting claims reserves, and
v 15 settling claims, when those activities directly influenced the insured’s
1 6 premiums and potential dividends under the policy. Under the
17 v policies in that case, the insured’s premiums and dividend rights
d 18 depended, in part, on the insured’s loss experience rating, Which
19 could be modified because of the number of claims outstanding at
20 year-end and the reserves the insurer established for those
` 2 1 outstanding claims. l
22 Western Polymer, supra at 25-26 (emphasis added) (noting-the fact that the
23 policy in the Security O]j‘icers case dealt with an insurance policy containing a
24 “ retrospective premium feature”).2
2 5 .
2 6 .2 Indeed, every workers’ compensation case_ after the Securily Ufficers case
' that has permitted a claim for bad fa1th to roceed involved a su1t to recover
27 retroactively increased remiums and/or 1vidends, which onl a l to loss-
888:85 1763 8;;§:;8,§¢€?88936%816-388111541914989885
28 459; Lance Camper fg. Corp. v. £l??epublic indem Co. of Am.,p(}f 996) 44 Cal. App.
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In direct contrast to cases such as Securily Ojj‘icers and its progeny, the
RANGER Policy is not “loss-sensitive~” (i.e., it has no “retrospective premium .
feature”). The RANGER Policy contains no provision or attached endorsement
providing for a post-term policy modification of premiums owed under the policy
based upon that year’s claims loss experience.

The absence of this foundational fact is critical.l As was the case in Security
O]j‘icers, under a “loss-sensitive” workers’ compensation policy, an insurer may j
be deemed to have a bad-faith motivation to over-reserve claims or increase the
expenses of handling a claim. Such practices would benefit the insurer, since the
insurer could retrospectiver charge a higher premium to the insured for the
current term, In contrast,` under the policy here, RANGER could have had no
such motivation, as it could not attempt to procure additional premiums from
Plaintiff for higher-than-expected losses. Instead, RANGER itself would have to
bear all costs in handling claims. l

Under all existingCalifornia law, Plaintiff has no right to interfere with the

manner in which RANGER spends its money to defend and settle cases.

V. PLAINTIFF’S COMPLAINT FAILS TO ALLEGE ANY FACTS

WHICH WOULD RE§ QUIRE RANGER TO PROVIDE
INDEPENDENT COUNSEL

Since the enactment of California Civil Code § 2860, it has been uniformly
held that the right to independent counsel does not arise in every situation where
the insurance company defends under a reservation of rights. There must be
evidence that “the outcome of the coverage issue can be controlled by counsel l

first retained by the insurer for the defense of the underlying claim. ” See

 

4th 194, 197; Tricor Calz`f., Inc. v. SCIF, (1994) 30 Cal. App. 4th 230, 233.
8 .

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1 Blanchard v. State Farm Fire & Casualty Co., (1991) 2 Cal. App.4th 345 , 350;
2 Accora' Truck Ins. Exchange v. Superior Court, (1996) 51 Cal. App. 4th 985, ~
3 994.
4 In Blanchara', the insurer agreed to defend a general contractor sued by a
5 homeowners association alleging various defects in the construction of townhomes.
61 The defense was under a reservation of rights. `Interpreting the policy, the court
7 concluded that “the contractor bore the risk of repairing or replacing faulty
8 workmanship, while the insurer bore the risk of damage to property of others.
9 (Citations omitted) lf, for instance, faulty workmanship in the framing of drywall
1 0 led to rainwater leaking in and damaging a homeowners’ furnishings, the contractor
1 1 would be indemnified for the damage to the furnishings, but not for the cost of
12 repairing or replacing‘the faulty workmanship (Citations omitted).” 2 Cal. App.
1 3 4th at 348-349. Because “the coverage issue involved only damages” and
1 4 “insurance counsel had no incentive to attach liability to the insured,” the court
1 5 concluded there was no need for independent counsel. la’. at 350. The contractor’s
11 6 reference to “an unspecified possibility of a conflict” did not persuade the court
1 7 otherwise
1 8 Before an insured is entitled to independent counsel under § 2860, “the
1 9 conflict must be significant, not merely theoretical, actual, not merely potential.”'
2 O (Citations omitted). See Dynamz'c Concepts, Inc._ v. Truck Ins. Exchange, (1998) 61 "
2 1 Cal. App. 4th 999, 1007. ‘“l`he potential for conflict requires a careful analysis of
2 2d the parties’ respective interests to determine if they can. be reconciled (such as by a
2 3 defense based upon total non-liability) or whether an actual conflict of interest
2 4 precludes insurer-appointed defense counsel from presenting a quality defense for
2 5 the insured.” Ia’. at 1007-1008.
2 6 Plaintiff fails to allege in its Complaint or assert in its Opposition any facts
2 7 which would require RANGER to provide Plaintiff with independent counsel
2 8 pursuant to California Civil Code §`2860.
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vr. PLAn\ITIFF cANNoT sTATE A cLAlM FoR RELIEF AGAn\IsT
RIVERSTONE

In its Opposition Plaintiff asserts that because RIVERSTONE is a separate
entity from RANGER that it can be held liable for breach of RANGER’s
insurance policy and the other claims for relief asserted by Plaintiff which are
predicated upon the contractual relationship. Plaintiff’s position is not supported
by existing California law. In Gruenberg v. Aetna, (1973) 9 Cal. 3d 566, 576 the

California Supreme Court held that an insurance adjusting firm which Was a

` separate entity from its insurer client, were “total strangers to the contract of

insurance and not subject to the implied covenant of good faith and fair dealing. ” -

Similarly, in Sanchez v. Lina'sey Morden Claims Services, Inc., (1999) 72~
Cal. App. 4th 249, 255 the California Court of Appeals held that an insurance
claim adjusting firm which was a separate entity from its insurer client, did not
owe any duty of care to the insured.

Accordingly, since RIVERSTONE is a stranger to the insurance policy and
owes no duty of care to Plaintiff as the insured under the RANGER Policy,
Plaintiff cannot state any claim for relief against RIVERSTONE.

VII. CONCLU_SION
The Motion to Dismiss as to RIVERSTONE must be dismissedwith

prejudice as Plaintiff cannot, as a matter of law, state any claims against

RIVERSTONE In addition, while Plaintiff could potentially state a claim against

2 5 RANGER and while Plaintiff has requested leave to amend, Plaintiff’s Opposition
'2 6 fails to identify any additional facts which would state a claim for relief against
2 7 RANGER.
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cHARLsToN, REV.¢H 10 ~

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REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF
DEFENDANTS TO DISMISS ACTION FOR FAILURE TO STATE A CLAIM

 

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DATED: August 28, 2006

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Accordingly, it is respectfully requested that the Motion to Dismiss as to
RANGER also be granted without leave to amend.

Respectfully submitted,

CHARLSTON, REVICH & CHAMBERLIN LLP
ROBERT W. KEASTER
YVONNE'M. SCHULTE

Me//¢d\

Robert W'. Keaster
AuorneXs for RANGER iNSURANcl-;\
coMP NY AND RIvERsToNE cLAIMs
MANAGEMENT, LLC

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5\ CHAMBERLIN LLP REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF
' ‘SZOD-WPD DEFENDANTS TO DISMISS ACTION FOR FAILURE TO STATE A CLAIM

 

